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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NEW YORK



JOHN WALKER, JR.,

                                                  Case No. l:22-cv-00520
Plaintiff,

                   V.




THE COUNTY OF ERIE,



Defendant.


                            SPECIAL VERDICT FORM


                         PLAINTIFF'S MONELL CLAIM


                                 Section I: Liability


Alleged "Brady" Violation(s)

  1. Do you find that the Plaintiff has demonstrated by a preponderance of the
     evidence that prosecutors at the Erie County District Attorney's Office violated
     Mr. Walker's constitutional right to a fair criminal trial in 1977 due to the failure
     to disclose material exculpatory and/or impeachment {Brady) evidence?

             Yes


             No


     If NO,please do not answer Question 2 and proceed to Question 3.

  2. Do you find that the Plaintiff has demonstrated hy a preponderance of the
     evidence that a policy, custom, or practice of the Erie County District Attorney's
     Office, as attributed to the County of Erie, caused the violation of Mr. Walker's
     constitutional right to a fair criminal trial in 1977 due to the failure to disclose
     material exculpatory and/or impeachment {Brady) evidence?

             Yes


             No


     Regardless of your answer,please proceed to Question 3.


                                                                                       5
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  7. Please apportion fault for the total damages that Mr. Walker suffered based on
     what you determine to be the relative culpable conduct of the County of Erie and
     the culpable conduct of individual employees of the Buffalo Police Department.

           Please utilize percentages in your apportionment, totaling 100%.

           If you do not find that the County has proven, by a preponderance of the
     evidence, that a particular individual listed below fabricated evidence in Mr.
     Walker's criminal case, the circumstances of which was unknown to the
     prosecutors in Mr. Walker's case, please assign a percentage of zero ("O").

     ___% County of Erie
     ___% Michael E. Guadagno
     ---% John Montondo
     ---% James E. Hunter
     ---% Robert Grabowski
     ---% Robert F. Arnet
     ---% Frank C. Deubell
     ---% Leo J. Donovan
     ___% Francis M. Manista, Jr.
     ---% Paul R. Delano


STOP: Please proceed to the Signature Page.




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                                    Signature Page


Instructions to the Foreperson: Once you have indicated the jury's answers to the

questions above and have been directed by the instructions to the signature page,

simply sign and date this page in the space provided below. Then inform the court

security officer that you have finished deliberating.



By his/her signature below, the jury foreperson affirms that the above are the answers

of the unanimous jury in the case of John Walker, Jr. v. The County of Erie, 1:22-cv-00520.




                                                        S/Foreperson



Dated: April _R_, 2025




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